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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

__________________________________________________________ X
In Re: Chapter 7
Darnianos Loizou and Karen S. Sehmermund Case No. 818~78265-A736
a/k/a Karen S. Loizou,
Debtor.
__________________________________________________________ X

Order Authorizing Retention of
Weinberg, Gross & Pergament LLP

as Attorneys for Trustee

Upon the application of Marc A. Pergament, Trustee of the above-referenced
Debtor, for an Order under Section 327 of the Bankruptcy Code, ii U.S.C. Section 327, Bankruptcy
Rule 2014 and Eastern District of Nevv York Local Bankruptcy Rule 2014~1, authorizing the
retention of Weinberg, Gross & Pergarnent LLP under a general retainer as the Trustee’s counsel to
represent him in this Chapter 7 case, and upon the affidavit of Marc A. Pergament, Esq., a member
of the law firm of Weinberg, Gross & Pergarnent LLP, and notice of said application having been
given to the United States Trustee, n

A hearing having been conducted before the Honorable Robert E, Grossrnan, United
States Bankruptcy Judge, United States Bankruptcy Court, Alfonse i\/l. D’Arnato U.S. Courthouse,
290 Federai Plaza, Roorn 860, Centrai lsiip, NeW York on i\/Iaroh 20, 2019, and the Trustee
appeared by Weinberg, Gross & Pergarnent LLP, and no adverse interest having been represented,
and the Court being satisfied that the finn of Weinberg, Gross & Pergarnent LLP represents no
interest adverse to the Debtor or 1ser Estate in the matters upon Which said firm of attorneys is to be

engaged and is a disinterested person under 'Section 101 of the Bankruptcy Code, 11 U.S.C. Section

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101, and that the employment of said flrm of attorneys is necessary and would be in the best interest
of this Estate, it is

ORDERED, that the Trustee be, and he hereby is, authorized and empowered to
employ and retain the firm of Weinberg, Gross & Pergament LLP, as his counsel, to represent the
Trustee under a general retainer in the within proceeding under Chapter 7 of the Banl<ruptcy Code,
nunc pro tunc as of January ll, 2019 with all future fees and reimbursement of expenses payable
only upon further application pursuant to ll U.S.C. Sections 330 and 331, the Federal Rules of
Bankruptcy Procedure, the E.D.N.Y. Local Banl<ruptcy Rules, and further Order of the Court
following a hearing on notice; and it is further

ORDERED, that ten business days prior to any increases in Weinberg Gross &
Pergament LLP’s rates, Weinberg, Gross & Pergament LLP shall ile a supplemental affidavit with
the Court setting forth the basis for the requested rate increase pursuant to ll U.S.C. § 330(a)(3)(F).
Parties in interest, including the United States Trustee, retain all rights to object to or otherwise
respond to any rate increase on any and all grounds, including, but not limited to, the reasonableness
standard under ll U.S,C. § 330. Supplemental affidavits are not required for rate increases effective
on or after the date the Trustee submits the Trustee's Final Report to the United States Trustee.

ORDERED, that no compensation or reimbursement of expenses shall be paid to
Weinberg, Gross & Pergament LLP for professional services rendered to the Trustee, except upon a
proper application and by further order of this Court following a hearing on notice pursuant to

§§330 and 331 of the Banl<ruptcy Code, the Bankruptcy Rules, and the Local Rules.

